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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA            :
                                    :
            Plaintiff,              :                 Crim. No. 07-00509-002(DRD)
                                    :
      v.                            :                 ORDER
                                    :
DAVID JONATHAS                      :
                                    :
            Defendant.              :
____________________________________:

       Petitioner, David Jonathas, having moved to modify his sentence pursuant to 18 U.S.C. §

3582(c)(2); and for the reasons set forth in an opinion of even date;

       IT is this 22nd day of September, 2010 ORDERED that the motion is denied and the

Petition is dismissed with prejudice.



                                                       s/ Dickinson R. Debevoise
                                                      DICKINSON R. DEBEVOISE
                                                             U.S.S.D.J.
